            Case 1:20-cv-09604-JMF Document 8 Filed 01/05/21 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
XIAMEN WALLY BATH MANUFACTURE CO., LTD, :
                                                                       :
                                    Plaintiff,                         :     20-CV-9604 (JMF)
                                                                       :
                  -v-                                                  :   ORDER SCHEDULING
                                                                       :   DEFAULT JUDGMENT
TRI-COASTAL DESIGN GROUP, INC.,                                        :   BRIEFING AND SHOW
                                                                       :     CAUSE HEARING
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        On November 16, 2020, Plaintiff filed its Complaint with the Court. See ECF No. 1.
Defendant was served with the Complaint on December 8, 2020, and proof of service was filed
with the Court. See ECF No. 7. To date, Defendant has neither answered the Complaint, nor
otherwise appeared in this action. In light of the foregoing, it is hereby ORDERED that any
motion for default judgment shall be filed, in accordance with the Court’s Individual Rules and
Practices for Civil Cases (available at https://nysd.uscourts.gov/hon-jesse-m-furman), no later
than January 26, 2021. Defendant shall file any opposition to the motion for default judgment
no later than February 4, 2021. Defendant is cautioned that a corporation may appear in federal
court only through licensed counsel, and “where a corporation repeatedly fails to appear by
counsel, a default judgment may be entered against it.” Grace v. Bank Leumi Tr. Co. of N.Y.,
443 F.3d 180, 192 (2d Cir. 2006) (internal quotation marks omitted).

         If a motion for default judgment is filed, it is further ORDERED that Defendant appear
and show cause before this Court, Courtroom 1105 of the Thurgood Marshall Courthouse, 40
Centre Street, New York, New York, on February 24, 2021, at 3:45 p.m., why an order should
not be issued granting a default judgment against Defendant. Prior to that date, Plaintiff must
file the proposed default judgment order electronically, using the ECF Filing Event “Proposed
Default Judgment,” for the Clerk’s approval.

         In the event that Defendant appears or opposes the motion for default judgment prior to
that date, the parties shall prepare to treat that conference as the initial pretrial conference. That
is, if Defendant appears, opposes the motion, or seeks a nunc pro tunc extension of time to
respond to the complaint, then the parties — including Defendant — shall follow the pre-
conference procedures specified in the Court’s Order of November 17, 2020 including by
submitting a joint letter addressing certain topics and a proposed case management plan no later
than the Thursday prior to the conference. See ECF No. 6.

       It is further ORDERED that Plaintiff serve Defendant via overnight courier (1) with a
copy of this Order within one business day of the date of this Order; and (2) with a copy of the
motion for default judgment and all supporting papers within one business day of the date of
          Case 1:20-cv-09604-JMF Document 8 Filed 01/05/21 Page 2 of 2


any such motion. In each case, within two business days of service, Plaintiff must file proof of
such service on the docket.

       SO ORDERED.

Dated: January 5, 2021                              __________________________________
       New York, New York                                    JESSE M. FURMAN
                                                           United States District Judge




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